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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                   LAFAYETTE DIVISION
                FABIAN R STRAUSS                      NO. 6:17−CV−00235−RFD−CBW

                       VERSUS                         JUDGE REBECCA F DOHERTY

     UNIVERSITY OF LOUISIANA SYSTEM                   MAGISTRATE JUDGE CAROL B
       BOARD OF SUPERVISORS , et al.                  WHITEHURST



                                  NOTICE OF INTENT TO DISMISS
                             FOR FAILURE TO PROSECUTE UNDER LR41.3

     Please take notice that this action is subject to dismissal as to Carol Landry, University of Louisiana
 Lafayette, University of Louisiana System Board of Supervisors under LR41.3 for failure to prosecute if good
 cause is not shown why service of the summons and complaint was not made within 90 days of the institution
 of this civil action.

     If you feel there is good cause for this failure, a "Motion for Extension of Time to Effect Service" should
 be filed within fourteen (14) days of the issuance of this notice, and such motion should include whatever
 good cause exists for the failure set forth above. If no filing is made within fourteen (14) days of the issuance
 of this notice, this civil action will be dismissed as to Carol Landry, University of Louisiana Lafayette,
 University of Louisiana System Board of Supervisors by the Clerk of Court under LR41.3.

    For questions regarding this document or transmission, please call our CM/ECF help desk at
 1−866−323−1101.

    THUS DONE June 5, 2017.



                                                              TONY R. MOORE
                                                              CLERK OF COURT
